Case 6:23-cv-01882-MC   Document 56-4   Filed 12/16/24   Page 1 of 4




                        Exhibit 4
Case 6:23-cv-01882-MC   Document 56-4   Filed 12/16/24   Page 2 of 4
Case 6:23-cv-01882-MC   Document 56-4   Filed 12/16/24   Page 3 of 4
                                 Case 6:23-cv-01882-MC          Document 56-4         Filed 12/16/24       Page 4 of 4


Western Shelter multiyear pricing for CT Scanner Project

Year         Integration Price                 NRE                Notes

                                                                 One time fee for design, development, and testing. 50% paid at time of first order
2018             $175,614.13                         $171,428.57 placement, balance under standard terms
2019             $179,302.03
2020             $183,067.37
2021             $186,911.78
2022             $190,836.93
2023             $194,844.51
2024             $198,936.24
2025             $203,113.90
2026             $207,379.29
2027             $211,734.26
